Case 1:17-cv-00871-LPS Document 143 Filed 09/12/18 Page 1 of 2 PageID #: 10263

                   MORRIS, NICHOLS, ARSHT                   &   TUNNELL        LLP
                                  1201 N ORTH M ARKET S TREET
                                         P.O. B OX 1347
                              W ILMINGTON , D ELAWARE 19899-1347
                                         (302) 658-9200
                                      (302) 658-3989 FAX
BRIAN P. EGAN
(302) 351-9454
began@mnat.com




                                        September 12, 2018



The Honorable Leonard P. Stark                                           VIA ELECTRONIC FILING
United States District Court
 for the District of Delaware
844 North King Street
Wilmington, DC 19801

                 Re:   Ethicon LLC et al. v. Intuitive Surgical, Inc. et al.
                       C.A. No. 17-871 (LPS) (CJB)

Dear Chief Judge Stark:

      Pursuant to Paragraph 15 of the Court’s Scheduling Order (D.I. 47), Plaintiffs Ethicon
LLC, Ethicon Endo-Surgery, Inc., and Ethicon US, LLC (collectively, “Ethicon”) and
Defendants Intuitive Surgical, Inc., Intuitive Surgical Operations, Inc., and Intuitive Surgical
Holdings, LLC (collectively, “Intuitive”) jointly submit this interim status report.

        This is a patent infringement action involving surgical stapling technology. Ethicon filed
this action on June 30, 2017 alleging infringement under 35 U.S.C. § 271(a) by Intuitive’s
EndoWrist Stapler 45 and EndoWrist Stapler 30. Most recently, on August 9, 2018, Ethicon filed
a third amended and supplemental complaint alleging infringement under 35 U.S.C. § 271(f).
D.I. 135. Intuitive’s response is due September 24, 2018.

        Discovery is currently underway. The parties’ deadline for substantial completion of
document production was August 24, 2018. The parties have served and responded to discovery
requests and anticipate conducting additional written discovery over the course of the coming
months. The parties also anticipate conducting fact depositions during this period. Fact discovery
is currently scheduled to close on November 15, 2018. The parties may have disputes regarding
discovery responses and the scope of document productions. If any disputes arise that require
Court intervention, the parties will follow the Court’s discovery dispute procedures.

       The Court has scheduled a Markman hearing for October 1, 2018. The parties have
submitted opening and responsive claim construction briefs. Ethicon has filed a motion to strike
the declaration of Jeffrey Vaitekunas (D.I. 129) and for leave to file a reply concerning the
construction of the term “spine” in U.S. Patent No. 8,479,969. D.I. 138. Intuitive filed its
response on September 11, 2018. Ethicon will file its reply and request for a teleconference on
September 14, 2018.
Case 1:17-cv-00871-LPS Document 143 Filed 09/12/18 Page 2 of 2 PageID #: 10264
The Honorable Leonard P. Stark
September 12, 2018
Page 2

                                                Respectfully,

                                                /s/ Brian P. Egan

                                                Brian P. Egan (#6227)
BPE/rah

cc:   All Counsel of Record (Via Electronic Mail)
